         Case 1:18-bk-10071        Doc 16-6 Filed 02/05/18 Entered 02/05/18 10:18:34      Desc
                                           Exhibit D Page 1 of 2




    Borrower:            W Wagner, David

    Address:            55 Downing St, East Greenwich, RI 02818




               Date of Report: 12/07/2017
                        Loan Id:
                        Product:

                                            Property Characteristics
                                            Vendor Opinion              Reconciled Opinion
        Property Type                  Single Family Residence          Single Family Residence
             GLA                                  3372                           3424
       Bedroom (count)                             4                              5
      Bathroom (count)                             4                              3
    Half-Bathroom (count)                          1                              1
             Age                                   42                             42
          Condition                             G-Good                        A-Average
             View                                Typical                        Typical
           Location                             Suburban                      Suburban
         Occupancy                               Owner                          Owner
           Lot Size                              58370                          58370
  Average Months in Market                                                        4
30 Day (Quick Sale) As-Is Price                 530000
  Normal Market Time As-Is                     530000.00
      As-Repaired Price                         530000
                            Reconciled Market Value:       $530000.00
           Case 1:18-bk-10071          Doc 16-6 Filed 02/05/18 Entered 02/05/18 10:18:34                       Desc
                                               Exhibit D Page 2 of 2

    Review Comments:
A re-review was completed on the 2055 dated 11/06/2017. The subject was reported to be in Average condition and was
reportedly owner occupied. A review of the 2055 subject photos depict the subject to be in average exterior condition as of
the date of the 2055. Subject property is located in a suburban Greenwich RI 02818. It is an occupied single family residence
built in 1975 with a GLA of 3,424 sq. ft. in average condition with 9 rooms, 5 bedrooms, 3.5 baths, partially finished basement
on a 1.34 acres lot. The property has 3 car attached garage, Pool. Property characteristics were reconciled using the
Origination Appraisal and recent photographs. 2055 described the property similarly. According to 2055 and online sources
the subject has not sold in the past 36 months and is not currently listed for sale. Research indicates that the subject property
is located close proximity to interstate highway, The Subject property and all the comparables used for value support are
from the same neighborhood having similar external factors. The subject property and all the comparables used for value
support are from the same neighborhood having similar external factors. Collateral Analytics report indicates the market is
increasing. There is limited REO activity in the immediate market area. The 2055 reports market values are stable in the past
12 months, there is a in balance supply of available properties, and marketing times were reported as under 3 months. The
2055 provided comps are located within 0.95 miles from the subject. The following supportive comparables were considered
to establish a reliable reconciled value: 160 Tamarack Dr, East Greenwich, RI 02818 Sale price - $ 545,000, Date of Sale –
6/28/2017, Distance 0.06 miles, single family GLA – 3,074 sq. ft. Bed - 4 , Bath – 2.5 Year Built - 1966 , Lot size – 31,594 sq.
ft, average condition. Data source - Sale comparable from current 2055 45 Devon Ct, East Greenwich, RI 02818 Sale price -
$ 540,000, Date of Sale – 8/4/2017, Distance 0.17 miles, single family GLA – 3,318 sq. ft. Bed - 4 , Bath – 2.5 Year Built -
1975 , Lot size – 30,962 sq. ft, average condition. Data source - Sale comparable from current 2055 The above comparable
support the Appraiser value of $530,000. There is no significant variance from the prior reviewed value .
